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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                   8:11CR294
                      Plaintiff,                 )
                                                 )
       vs.                                       )                     ORDER
                                                 )
JASON L. ARNOLD,                                 )
NASH HAMMOND and                                 )
KYLE J. KRUGER,                                  )
                                                 )
                      Defendants.                )

       This matter is before the court on the motion to continue by defendant Nash Hammond

(Filing No. 40). Hammond seeks a continuance of the trial scheduled for November 7, 2011. The

court held a telephone conference with counsel on November 3, 2011. It was represented that

each of the three defendants and counsel for the government agreed to motion for a continuance.

It was represented that each of the defendants would be filing an affidavit wherein they agreed to

the continuance and understood the additional time would be excluded under the Speedy Trial Act.

Upon consideration, the motion will be granted as to all defendants.

       IT IS ORDERED:

       1.      Hammond’s motion to continue trial (Filing No. 40) is granted.

       2.      Trial of this matter as to all defendants is re-scheduled for January 9, 2012, before

Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been served by granting such

motion and outweigh the interests of the public and the defendant in a speedy trial. The additional

time arising as a result of granting the motion, i.e., the time between November 3, 2011, and

January 9, 2012, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason that defendants' counsel require additional time

to adequately prepare the case. The failure to grant additional time might result in a miscarriage

of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED this 3rd day of November, 2011.

                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
